        Case:4:19-cv-07123-PJH
        Case  20-16408, 11/29/2021, ID: 12299862,
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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          NOV 29 2021
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
WHATSAPP LLC, a Delaware corporation;             No.      20-16408
META PLATFORMS, INC., a Delaware
corporation,                                      D.C. No. 4:19-cv-07123-PJH
                                                  Northern District of California,
                 Plaintiffs-Appellees,            Oakland

 v.                                               ORDER

NSO GROUP TECHNOLOGIES
LIMITED; Q CYBER TECHNOLOGIES
LIMITED,

                 Defendants-Appellants.

Before: MURGUIA, R. NELSON, and FORREST, Circuit Judges.

      Plaintiffs-Appellees are directed to file a response to the Petition for Panel

Rehearing and Petition for Rehearing En Banc filed with this court on November 22,

2021 (Dkt. No. 82). The response shall not exceed fifteen pages or 4,200 words and

shall be filed within 21 days of the date of this order.

      The mandate is stayed pending further order of this court.




COA
